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 1   CLEMENTE M. JIMÉNEZ, SBN 207136
     428 J Street, Suite 355
 2
     Sacramento, CA 95814
 3   (916) 443-8055
 4   Attorney for Defendant
 5   JAMES BRADLEY
 6                                    IN THE UNITED STATES DISTRICT COURT
 7
                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                           Case No.: 2:12-cr-080-TLN
10
                           Plaintiff,                    STIPULATION AND ORDER
11                                                       VACATING DATE, CONTINUING
12              v.                                       CASE, AND EXCLUDING TIME
13   JAMES BRADLEY, et al.,                              DATE: October 17, 2013
14                                                       TIME: 9:30 a.m.
                                                         JUDGE: Hon. Troy L. Nunley
15                         Defendants.
16
17              IT IS HEREBY STIPULATED by and between Assistant United States Attorney
18   Heiko Coppola, Counsel for Plaintiff; Michael Chastaine, Counsel for Defendant
19   DEBORAH BARNES; Christopher Cosca, Counsel for Defendant MARCUS LAW;
20   Clemente M. Jiménez, Counsel for Defendant JAMES BRADLEY; and David Fischer,
21   Counsel for BRETT TOWNSEND, that the status conference scheduled for October 17,
22   2013, at 9:30 a.m., be vacated and the matter continued to this Court’s criminal calendar
23   on November 21, 2013, at 9:30 a.m. for further status conference. Discovery in this case
24   is voluminous, consisting of hundreds of pages of discovery and several dozen hours of
25   audio recordings. Counsel require additional time to review discovery and confer with
26   their respective clients. THIS STIPULATION DOES NOT INCLUDE DEFENDANT
27   HERMAN KEESE.
28



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 1              IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act, 18
 2   U.S.C. Section 3161 et seq. be tolled pursuant to Section 3161(h)(7)(A) and (B)(iv),
 3   (Local code T-4), and that the ends of justice served in granting the continuance and
 4   allowing the defendants further time to prepare outweigh the best interests of the public
 5   and the defendant to a speedy trial.
 6
 7   DATED:                October 15, 2013           /S/   Heiko Coppola______________
                                                      HEIKO COPPOLA
 8                                                    Attorney for Plaintiff
 9
10                                                    /S/   Clemente M. Jiménez______
11                                                    CLEMENTE M. JIMÉNEZ
                                                      Attorney for JAMES BRADLEY
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13
                                                      /S/   Michael Chastaine________
14                                                    MICHAEL CHASTAINE
15                                                    Attorney for DEBORAH BARNES

16
17                                                    /S/   Christopher Cosca________
                                                      CHRISTOPHER COSCA
18                                                    Attorney for MARCUS LAW
19
20                                                    /S/   David Fischer____________
21                                                    DAVID FISCHER
                                                      Attorney for BRETT TOWNSEND
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 1                                              ORDER
 2
                IT IS SO ORDERED, that the status conference in the above-entitled matter,
 3
     scheduled for October 17, 2013, at 9:30 a.m., be vacated and the matter continued to
 4   November 21, 2013, at 9:30 a.m., for further status conference. The Court finds that time
 5   under the Speedy Trial Act shall be excluded through that date in order to afford counsel
 6   reasonable time to prepare. Based on the parties’ representations, the Court finds that the
 7   ends of justice served by granting a continuance outweigh the best interests of the public
 8   and the defendants to a speedy trial.
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10   This 17th day of October 2013
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                                                           Troy L. Nunley
14                                                         United States District Judge
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     10/17/13
